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 8
                                UNITED STATES DISTRICT COURT
 9                                   DISTRICT OF NEVADA

10 UNITED STATES OF AMERICA,                        2:19-CR-327-GMN-DJA

11                 Plaintiff,                       Notice of Filing Proof of Publication

12          v.

13 JACQUES ANTON LANIER,
   a.k.a. “John Dupree,”
14
                 Defendant.
15

16         The United States published Notice for at least 30 consecutive days on the official

17 internet government forfeiture website, www.forfeiture.gov. See Exhibits, attached hereto

18 and incorporated herein by reference as if fully set forth herein.

19         DATED: February 16, 2024.
                                                     JASON M. FRIERSON
20                                                   United States Attorney
21

22                                                   /s/ Misty L. Dante     ________
                                                     MISTY L. DANTE
23                                                   Assistant United States Attorney
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